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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MARCO TULIO TUY GUIT, et al.,

                       Plaintiffs,            16 Civ. 7466 (HBP)

     -against-                                OPINION
                                              AND ORDER
38 WATER & STREET INC., d/b/a
"Obao," et al.,

                       Defendants.

-----------------------------------x


          PITMAN, United States Magistrate Judge:


          In Opinion and Orders dated August 7 and 19, 2019,

reviewed the proposed settlement in this action brought under the

Fair Labor Standards Act, 29 U.S.C.     §§   201 et seq. and the Ne,

York Labor Law; I found that the proposed settlement was gene -

ally fair and reasonable except for the allocation of the net

settlement proceeds.     I concluded that I could not approve th

settlement because although plaintiff Guit's claim represente.

57.8% of the plaintiffs' aggregate claim, he was receiving on iy

47.7% of the settlement proceeds while plaintiff Lopez, whose

claim represented 42.2% of plaintiffs' aggregate claim was

receiving 52.3% of the settlement proceeds.        In all other re-

spects, I found that the settlement agreement passed muster.

          Counsel have now submitted an amendment to the sett e-

ment agreement which allocates 58% of the net settlement proc eds

to Guit and 42% of the net settlement proceeds to Lopez.           Bee use




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the settlement agreement now allocates the net settlement pro.

ceeds on a rational basis 52%, i.§., a pro rata allocation, I

approve the settlement agreement.

            This matter be and hereby is dismissed with prejudi e

and without costs.      The Clerk of the Court is respectfully

requested to mark this matter closed.

Dated:    New York, New York
          September 3, 2019

                                          SO ORDERED




                                          United States Magistrate J dge

Copies transmitted to:

All Counsel




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